     Case 2:20-cr-00326-JFW Document 1010-1 Filed 03/20/23 Page 1 of 1 Page ID #:23583



1                               DECLARATION OF SUSAN S. HAR

2            I, SUSAN S. HAR, declare as follows:

3            1.    I am an Assistant United States Attorney in the United

4      States Attorney’s Office for the Central District of California.             I

5      am one of the attorneys representing the government in this case.

6            2.    On February 15, 2023, defense counsel Brendan Pratt

7      provided to government counsel his notes for the interviews of six

8      potential defense witnesses.

9            3.    With respect to defendant Raymond Chan’s trial exhibits,

10     government counsel has primarily and consistently interfaced with Mr.

11     Pratt, who has been additionally assisted by defendant and Even Chan.

12     Both before Mr. Braun took ill and after, as issues or questions have

13     arisen regarding the defense trial exhibits, Mr. Pratt has been the

14     primary point of contact for the government (as repeatedly directed

15     by Harland Braun), both in more informal meet and confers during

16     trial breaks, as well as formal in-person meetings.           In addition,

17     government counsel and Mr. Pratt have corresponded substantively via

18     telephone and email regarding the defense trial exhibits.

19

20           I declare under penalty of perjury under the laws of the United

21     States of America that the foregoing is true and correct and that

22     this declaration is executed at Los Angeles, California, on March 20,

23     2023.

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25                                               SUSAN S. HAR
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